                                                   Case 3:13-cv-05788-RS Document 24 Filed 10/14/14 Page 1 of 2



                                       1   KAZEROUNI LAW GROUP, APC                LAW OFFICES OF TODD M.
                                       2   Abbas Kazerounian, Esq. (249203)        FRIEDMAN, P.C.
                                           ak@kazlg.com                            Todd M. Friedman, Esq. (216752)
                                       3   Matthew M. Loker, Esq. (279939)         tfriedman@attorneysforconsumers.com
                                       4   ml@kazlg.com                            324 S. Beverly Dr., #725
                                           245 Fischer Avenue, Unit D1             Beverly Hills, CA 90212
                                       5   Costa Mesa, CA 92626                    Telephone: (877) 206-4741
                                       6   Telephone: (800) 400-6808               Facsimile: (866) 633-0228
                                           Facsimile: (800) 520-5523
                                       7
                                       8   HYDE & SWIGART
                                           Joshua B. Swigart, Esq. (225557)
                                       9   josh@westcoastlitigation.com
                                      10   2221 Camino del Rio South, Suite 101
                                           San Diego, CA 92108
                                      11   Telephone (619) 233-7770
                                           Facsimile: (619) 297-1022
K AZERO UNI LAW GRO UP, APC




                                      12
  24 5 F ISCHE R A VENUE , U NIT D1
      C OS TA M ES A , CA 92 62 6




                                      13   Attorneys for Plaintiff,
                                      14   Than Zaw
                                      15                       UNITED STATES DISTRICT COURT
                                      16                     NORTHERN DISTRICT OF CALIFORNIA
                                      17   THAN ZAW, INDIVIDUALLY                 Case No.: C 13-05788 RS
                                           AND ON BEHALF OF ALL
                                      18   OTHERS SIMILARLY                       NOTICE OF MOTION AND
                                           SITUATED,                              MOTION FOR FINAL APPROVAL
                                      19                                          OF THE PARTIES’ CLASS ACTION
                                                         Plaintiff,               SETTLEMENT
                                      20
                                                                 v.               DATE:      November 13, 2014
                                      21                                          TIME:      1:30 p.m.
                                           NELNET BUSINESS                        COURTROOM: 3
                                      22
                                           SOLUTIONS INC.; NELNET,                HON. RICHARD SEEBORG
                                      23   INC.; and NELNET
                                      24   SERVICING, LLC; and DOES 1-
                                           100,
                                      25
                                      26                 Defendant.
                                      27   ///
                                      28   ///

                                           NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF THE PARTIES’ CLASS ACTION
                                           SETTLEMENT
                                                  Case 3:13-cv-05788-RS Document 24 Filed 10/14/14 Page 2 of 2


                                           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                       1
                                                 PLEASE TAKE NOTICE that on November 13, 2014, at 1:30 p.m.,
                                       2
                                           before the United States District Court, Southern District of California, Courtroom
                                       3
                                           3, located at 450 Golden Gate Avenue, San Francisco, CA 94102, Plaintiff THAN
                                       4
                                           ZAW (“Plaintiff”) will move this Court for an Order Granting Approval of
                                       5
                                           Plaintiff’s Attorneys’ Fees, Costs Request, and Incentive Award.
                                       6
                                                 This unopposed Motion is based upon this Notice, the records and papers on
                                       7
                                           file herein, the attached Memorandum of Points and Authorities, the Declaration of
                                       8
                                           Plaintiff’s counsel and Plaintiff Hoffman, and on such other evidence as may be
                                       9
                                      10
                                           presented at the hearing of this Motion.

                                      11
                                           Date: October 14, 2014                              Respectfully submitted,
K AZERO UNI LAW GRO UP, APC




                                      12
  24 5 F ISCHE R A VENUE , U NIT D1
      C OS TA M ES A , CA 92 62 6




                                      13                                                KAZEROUNI LAW GROUP, APC
                                      14
                                                                                                   By:/s/ Abbas Kazerounian
                                      15                                                          ABBAS KAZEROUNIAN, ESQ.
                                      16                                                           ATTORNEY FOR PLAINTIFF
                                      17
                                      18
                                      19
                                      20
                                      21
                                      22
                                      23
                                      24
                                      25
                                      26
                                      27
                                      28

                                           NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF THE PARTIES’ CLASS ACTION
                                           SETTLEMENT                                                    PAGE 1 OF 1
